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                      UNITED STATE DISTRICT COURT
                           DISTRICT OF IDAHO

PLANNED PARENTHOOD GREAT NORTH-
WEST, HAWAII, ALASKA, INDIANA, KEN-             Case No. 1:23-cv-00142-BLW
TUCKY, on behalf of itself, its staff, physi-
cians and patients, CAITLIN GUSTAFSON,          MEMORANDUM OF LAW OF
M.D., on behalf of herself and her patients,    CERTAIN COUNTY PROSE-
and DARIN L. WEYHRICH, M.D., on behalf          CUTORS IN SUPPORT OF
of himself and his patients,                    MOTION TO DISMISS AND
                Plaintiffs,                     IN OPPOSITION TO MOTION
                                                FOR PRELIMINARY IN-
                                                JUNCTION
v.
RAÚL LABRADOR, in his capacity as the At-
torney General of the State of Idaho; MEM-
BERS OF THE IDAHO STATE BOARD OF
MEDICINE and IDAHO STATE BOARD OF
NURSING, in their official capacities,
COUNTY PROSECUTING ATTORNEYS, in
their official capacities,
                Defendants.


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                                     INTRODUCTION

       While some of the parties in this action engaged in briefing and a hearing re-

garding Plaintiffs’ preliminary injunction motion and certain Defendants’ motions to

dismiss, see Dkts. 2, 41, 100, several other county prosecutors had not been properly

served and were thus not subject to the Court’s jurisdiction (the “County Prosecu-

tors”). 1 Since that time, these County Prosecutors have reached an agreement with

Plaintiffs’ counsel to accept service effective as of April 28, 2023. See Wilson Decl.

Ex. A. But because the County Prosecutors had not been served at the time of the

Court’s hearing, they did not have an opportunity to lodge a defense against Plain-

tiffs’ claims. They do so now, and timely move to dismiss for lack of subject matter

jurisdiction and failure to state a claim for relief.

       A cursory review of Plaintiffs’ Complaint shows that this case has no business

continuing against the County Prosecutors. 2 There isn’t a single fact alleged, much

less supported by declaration, against the County Prosecutors, and it is unclear what




1 These County Prosecutors are Bailey Smith of Teton County, Adam McKenzie of
Bear Lake County, Matt Fredback of Blaine County, Bryan Taylor of Canyon County,
S. Douglas Wood of Caribou County, Vic Pearson of Franklin County, Erick Thomson
of Gem County, and Justin Coleman of Nez Perce County.
2 Plaintiffs have used the term “County Prosecuting Attorneys” in their caption as
shorthand. But that term obscures an important fact. Plaintiffs sued each of the 44
Idaho County Prosecutors separately. There is no such entity as the so-named
“County Prosecuting Attorneys.”

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factual basis Plaintiffs had to even name all 44 Idaho County Prosecutors as Defend-

ants. 3 That aside, the Court should not countenance for even one more day Plaintiffs’

attempt to proceed against Defendants as to whom they make no allegations and who

have taken no actions. The Court should deny a preliminary injunction as to the

County Prosecutors dismiss them from this action for lack of jurisdiction and failure

to state a claim.

                                    LEGAL STANDARDS

         As an initial matter, Plaintiffs’ claims cannot proceed “at all” unless this Court

has jurisdiction, Ex parte McCardle, 74 U.S. 506, 514 (1868), which requires Plaintiffs

to have Article III standing. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). The

County Prosecutors thus move to dismiss under Fed. R. Civ. P. 12(b)(1), which means

the Court considers not just Plaintiffs’ allegations but also “any other particularized

allegations of fact[] in affidavits,” like the declarations submitted with this motion.

See Table Bluff Rsrv. (Wiyot Tribe) v. Phillip Morris, Inc., 256 F.3d 879, 882 (9th Cir.

2001).

         The County Prosecutors also move to dismiss under Rule 12(b)(6) because

Plaintiffs Complaint lacks a cognizable legal theory and lacks sufficient facts alleged

under a cognizable theory. See Somers v. Apple, Inc., 729 F.3d 953, 959 (9th Cir.




3On May 4, 2023, the Attorney General inquired whether Plaintiffs would agree to
dismiss the county prosecutors from this case given this lack of factual allegations
and the declarations proffered by the county prosecutors. Plaintiffs’ counsel said they
would raise the issue with their clients, but then they responded by moving to strike
all the declarations proffered by the county prosecutors.

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2013) (citations omitted). Their Complaint “must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Id. (citations

and internal quotation marks omitted). And as this Court has recognized, it must do

so as to each named defendant. Watkins v. Kootenai Cnty. Sheriff's Off., No. 1:22-CV-

00338-BLW, 2022 WL 16797988, at *3 (D. Idaho Nov. 8, 2022); Hydrick v. Hunter,

669 F.3d 937, 942 (9th Cir. 2012). It is insufficient to merely plead “conclusory alle-

gations and generalities, without any allegation of the specific wrongdoing by each

Defendant,” Hydrick, 669 F.3d at 942, or to “[a]lleg[e] the mere possibility of miscon-

duct.” Watkins, 2022 WL 16797988, at *3 (quotation and citation omitted).

                                       ARGUMENT

I.    The Court lacks jurisdiction over the County Prosecutors because
      they have not injured, or threatened to injure, Plaintiffs.

      The law on standing has been well briefed by the other Defendants already, so

the County Prosecutors will not rehash it here. See Dkts. 42, 85, 107. It is enough

simply to add that Plaintiffs must have suffered “an injury in fact as to each defend-

ant.” Ariz. Att’ys for Crim. Just. v. Brnovich, No. 20-16293, 2021 WL 3743888, at *1

(9th Cir. Aug. 24, 2021), cert. denied, 142 S. Ct. 2648 (2022). In this pre-enforcement

challenge, Plaintiffs must show that they face “a genuine threat of imminent prose-

cution.” Skyline Wesleyan Church v. Cal. Dep't of Managed Health Care, 968 F.3d

738, 748 (9th Cir. 2020) (citation and internal quotation marks omitted). This is their

burden, and they don’t come close to meeting it. Neither their Complaint nor their




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declarations allege any action by the County Prosecutors, and the County Prosecu-

tors’ declarations show that no relevant action has been taken. That compels dismis-

sal for lack of jurisdiction.

       A.     Plaintiffs allege nothing about the County Prosecutors and in-
              stead focus solely on the Attorney General.

       Plaintiffs’ Complaint is virtually silent regarding the County Prosecutors, so

hardly anything needs to be said here. Plaintiffs only even reference the “County

Prosecuting Attorneys” twice: first when they identify who they’ve sued, Dkt. 1 ¶ 17,

and last when they identify who they want an injunction against, id. at 18, Prayer for

Relief. That’s it.

       Instead, Plaintiffs’ Complaint is hyper focused on a private communication be-

tween the Attorney General and Representative Crane, and obviously so. Plaintiffs’

boogeyman isn’t alleged to be any County Prosecutor. No, Plaintiffs’ only person of

concern is the Attorney General. They allege that they “are now the targets of a new

attack at the hands of Idaho Attorney General Raúl Labrador.” Dkt. 1 ¶ 2. “On March

27, 2023, in response to an inquiry from Representative Brent Crane, Idaho Attorney

General Raúl Labrador issued publicly a letter interpreting Idaho’s prohibitions on

abortion.” Id. ¶ 23. “Labrador’s interpretation attempts to bring plainly First Amend-

ment-protected activity within the ambit of the Total Abortion Ban.” Id. ¶ 3. “As a

result of Attorney General Labrador’s letter, [Plaintiffs] have ceased having compre-

hensive conversations with their patients about out-of-state abortion options.” Id. ¶ 4.

       Noticeably absent? Any reference to the County Prosecutors.



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      B.     The County Prosecutors have taken no action relative to Plain-
             tiffs’ claims.

      Not only do Plaintiffs fail to allege any fact against the County Prosecutors,

but the County Prosecutors have proffered declarations showing the lack of any con-

nection to Plaintiffs’ allegations about the Crane Letter. Before this lawsuit was filed,

the County Prosecutors had never even seen the Crane Letter. See Wilson Decl. Ex.

B ¶¶ 2–3. 4 They did not understand the Crane Letter to constitute any guidance or

directive about Idaho Code § 18-622. Id. ¶ 4. They have stated that the Attorney

General lacks any supervisory authority over their work or the power to direct them

to an initiate a prosecution without their consent. Id. ¶ 8. And of crucial importance,

none of the County Prosecutors themselves have taken a position on Idaho Code § 18-

622 or threatened anyone (let alone Plaintiffs) with prosecution under Idaho Code

§ 18-622 under any theory (let alone Plaintiffs’ theory). Id. ¶¶ 5–7.

      Nothing relevant has changed about the County Prosecutors’ position now that

Plaintiffs’ litigation has exposed them to the Crane Letter. Their prosecutorial deci-

sions are based on their own independent legal duty, interpretation of the law, and

discretion. Id. ¶ 6. The Crane Letter is not a directive to prosecute, and the Attorney

General has not directed any of the County Prosecutors to prosecute crimes under

Idaho Code § 18-622—nor does he have any power to. See Dkt. 106-1 (Idaho Attorney

General Opinion No. 23-1). Regardless, none of the County Prosecutors regard the




4The County Prosecutors cite the Smith Declaration (Ex. B to Wilson Decl.) as an
exemplar of the similar declarations they have all proffered here.

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Crane Letter as a directive. Wilson Decl. Ex. B ¶ 4. Simply put, it has zero relevance

to their prosecutorial work. And nothing in the Complaint says otherwise.

      In addition to these already concerning facts, not one Plaintiff has facilities in

the counties at issue here. Plaintiffs reside in Ada, Twin Falls, and Valley Counties.

Dkt. 1 ¶¶ 10–12. Plaintiffs offer nothing to show how prosecutors in other counties

pose any threat of prosecuting them. Wilson Decl. Ex. B ¶ 10.

      C.     The lack of any allegation or evidence against the County Pros-
             ecutors is fatal to standing.

      The upshot of all of this is that Plaintiffs’ lack Article III standing to sue the

County Prosecutors. Plaintiffs nowhere allege that the County Prosecutors acted, or

intended to act, on the Crane Letter, hold to any position set forth in the Crane Letter,

or have any position whatsoever on Idaho Code § 18-622. They also don’t allege that

the County Prosecutors even saw the Crane Letter or consider it relevant in any way

now that they’ve been exposed to it through this litigation. And while Plaintiffs might

have some basis to sue the prosecutors if they alleged that the law as written prohib-

its their conduct, here, they allege the opposite—that the law does not condemn their

conduct. See Dkt. 1 ¶ 40; Dkt. 2-1 at 4–5. In short, Plaintiffs have failed to allege

any facts that suggest the County Prosecutors pose a threat of imminent prosecution

to them.

      Not only that, but the County Prosecutors’ declarations foreclose any attempt

to establish any threat on which Plaintiffs could sustain their claims against the

County Prosecutors. The County Prosecutors have done absolutely nothing that



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could be construed as a threat to Plaintiffs. See Wilson Decl. Ex. B. The Complaint

makes clear that Plaintiffs’ fear is connected solely to the Attorney General. Plain-

tiffs have suffered no injury at the hands of the County Prosecutors, meaning they

also do not face irreparable harm. They cannot bring these claims against the County

Prosecutors in federal court, and they are not entitled to an injunction. This Court

lacks jurisdiction over the claims against the County Prosecutors and must dismiss

them from this Complaint.

II.   Plaintiffs fail to state a claim against the County Prosecutors.

      For the same reasons that Plaintiffs fail to allege a basis for standing against

the County Prosecutors, they fail to state a claim under Rule 12(b)(6). The total ab-

sence of any allegations against the County Prosecutors requires their dismissal.

“Despite naming [over 40] individual defendants in the complaint, Plaintiff[s] men-

tion[] only [one] as part of [their] factual recitation.” Murphy v. Coconino Cnty. Sher-

iff's Off., No. CV-08-8089-PHX-DGC, 2009 WL 2383016, at *2 (D. Ariz. July 31, 2009).

      This falls far short of what the law demands from a Complaint. Courts in this

District abjure a “shotgun pleading, which ‘violates either Federal Rule of Civil Pro-

cedure 8(a)(2) or Rule 10(b), or both.’” Fitzpatrick v. Little, No. 1:22-CV-00162-DCN,

2023 WL 129815, at *8 (D. Idaho Jan. 9, 2023) (quoting Barmapov v. Amuial, 986

F.3d 1321, 1324 (11th Cir. 2021)). An improper shotgun pleading is one that “as-

sert[s] multiple claims against multiple defendants without specifying which of the

defendants are responsible for which acts or omissions, or which of the defendants …

the claim is brought against.” Barmapov, 986 F.3d at 1325 (citation omitted). But

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Plaintiffs’ Complaint here doesn’t even rise to that level. Instead of a shotgun blast

against all Defendants, they aim their allegations solely at the Attorney General, on

which basis they somehow assert the liability of 44 county prosecutors. And even if

Plaintiffs’ allegations against the withdrawn Crane Letter had hit the target, they

come nowhere close to the County Prosecutors.

      Plaintiffs cannot lump Defendants together by alleging facts against only one

of them. Their allegations are nowhere close to having an “arguable basis in law or

in fact” sufficient to assert a claim against the County Prosecutors. See Franklin v.

Murphy, 745 F.2d 1221, 1228 (9th Cir. 1984). Because of “the absence of factual al-

legations, the claims against [the County Prosecutors] [must] be dismissed.” Co-

conino, 2009 WL 2383016, at *2.

                                     CONCLUSION

      The Court should grant this motion to dismiss, deny a preliminary injunction

as to the County Prosecutors, and dismiss them from this action for lack of jurisdic-

tion and failure to state a claim.

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DATED: May 5, 2023.

                                  STATE OF IDAHO
                                  OFFICE OF THE ATTORNEY GENERAL


                               By:   /s/ Lincoln Davis Wilson
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                                      Constitutional Defense
                                      BRIAN V. CHURCH
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                                  County; Bryan Taylor, Canyon County; S.
                                  Douglas Wood, Caribou County; Vic Pearson,
                                  Franklin County, Erick Thomson, Gem
                                  County, Justin Coleman, Nez Perce County;
                                  and Bailey Smith, Teton Valley County.




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                          CERTIFICATE OF SERVICE

       I hereby certify that on May 5, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
Filing to all counsel of record who have appeared in this matter.


                                            /s/ Lincoln Davis Wilson
                                            LINCOLN DAVIS WILSON
                                            Chief, Civil Litigation and Constitu-
                                            tional Defense




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